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11
                                  UNITED STATES DISTRICT COURT
12
                                NORTHERN DISTRICT OF CALIFORNIA
13
                                       OAKLAND DIVISION
14
   THE APPLE IPOD ITUNES ANTITRUST              )   Lead Case No. C-05-00037-YGR
15 LITIGATION                                   )
                                                )   CLASS ACTION
16                                              )
      This Document Relates To:                 )   DECLARATION OF BONNY E. SWEENEY
17                                              )   IN SUPPORT OF PLAINTIFFS’
                 ALL ACTIONS.                   )   MEMORANDUM OF POINTS AND
18                                              )   AUTHORITIES IN OPPOSITION TO
                                                    DEFENDANT APPLE’S MOTIONS IN
19                                                  LIMINE NOS. 1-3 AND TO EXCLUDE AND
                                                    STRIKE EVIDENCE
20
                                                    DATE:     October 29, 2014
21                                                  TIME:     9:30 a.m.
                                                    CTRM:     1 – 4th Floor
22                                                  JUDGE:    Hon. Yvonne Gonzalez Rogers

23                                                  TRIAL:    November 17, 2014
                                                    TIME:     8:30 a.m.
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           1          I, BONNY E. SWEENEY, declare:

           2          1.     I am an attorney duly licensed to practice before all of the courts of the State of

           3 California. I am a member of the law firm of Robbins Geller Rudman & Dowd LLP, Class Counsel

           4 for the Class and for Plaintiffs Melanie Wilson (formerly Tucker) and Mariana Rosen (collectively,

           5 “Plaintiffs”) in this action. I have personal knowledge of the matters stated herein, and, if called

           6 upon, I could and would completely testify thereto.

           7          2.     I submit this declaration in support of Plaintiffs’ Memorandum of Points and

           8 Authorities in Opposition to Defendant Apple’s Motions in Limine Nos. 1-3 and to Exclude and

           9 Strike Evidence.

       10             3.     Attached hereto are true and correct copies of the following documents:

       11             Exhibit1        Document Description
       12             Exhibit 1:      Declaration of Dr. John P.J. Kelly in Support of Defendant’s
                                      Renewed Motion for Summary Judgment, dated January 18, 2011;
       13             Exhibit 2:      Expert Report of Dr. John P.J. Kelly, dated July 19, 2013;
       14             Exhibit 3:      Expert Report of Kevin M. Murphy (Amended), dated August 19,
                                      2013; and
       15             Exhibit 4:      Expert Report of Robert H. Topel (Amended), dated August 19,
       16                             2013.

       17             I declare under penalty of perjury under the laws of the United States of America that the

       18 foregoing is true and correct. Executed this 14th day of October , 2014, at San Diego, California.

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                                                                            s/ Bonny E. Sweeney
       20                                                                  BONNY E. SWEENEY

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              Plaintiffs identify with red text boxes portions of the expert reports Plaintiffs respectfully request
       27 to strike, should the Court grant Apple’s motion to strike references that Apple “could have or
          should  have taken steps to aid third parties in developing products that are interoperable with iPods.”
       28
977029_1        DEC OF BES ISO PLTFS’ MEMO OF PS & AS IN OPPOSITION TO DEFENDANT APPLE’S
                MOTIONS IN LIMINE NOS. 1-3 AND TO EXCLUDE AND STRIKE EVIDENCE - C-05-00037-YGR                   -1-
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           1                                    CERTIFICATE OF SERVICE

           2          I hereby certify that on October 14, 2014, I authorized the electronic filing of the foregoing

           3 with the Clerk of the Court using the CM/ECF system which will send notification of such filing to

           4 the e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I

           5 caused to be mailed the foregoing document or paper via the United States Postal Service to the non-

           6 CM/ECF participants indicated on the attached Manual Notice List.

           7          I certify under penalty of perjury under the laws of the United States of America that the

           8 foregoing is true and correct. Executed on October 14, 2014.

           9                                                      s/ Bonny E. Sweeney
                                                                  BONNY E. SWEENEY
       10
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Mailing Information for a Case 4:05-cv-00037-YGR The Apple iPod iTunes
Anti-Trust Litigation
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Manual Notice List

The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore require
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create notices or labels for these recipients.
• (No manual recipients)




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